                     Case: 25-1555
                     UNITED  STATES Document:
                                    COURT OF54   Page: FOR
                                              APPEALS  1   Date
                                                           THE Filed:
                                                                THIRD 05/07/2025
                                                                        CIRCUIT

                                                     No. 25-1555

                          Atlas Data Privacy Corp.             vs. We Inform, LLC et al.

                                                 ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:
 Consumer Data Industry Association, Software & Information Industry Association, and Coalition for Sensible Public Records Access


Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)                ____ Appellant(s)                  ____ Intervenor(s)

         ____ Respondent(s)                ____ Appellee(s)                    ✔ Amicus Curiae
                                                                              ____

(Type or Print) Counsel’s Name Robert D. Tilley
                               ________________________________________________________________
                                    ✔ Mr.
                                  ____         ____ Ms.   ____ Mrs. ____ Miss ____ Mx.

Firm Hudson Cook, LLP

Address 1909 K Street NW, 4th Floor

City, State, Zip Code Washington, D.C. 20006

Phone 202.327.9718                                                     Fax 202.223.6930

Primary E-Mail Address (required) rtilley@hudco.com
Additional E-Mail Address (1)
Additional E-Mail Address (2)
Additional E-Mail Address (3)

If your organization has created a common or general email address for purposes of receiving
ECF notices, that common email address MUST be one of the listed additional email addresses.
Notices generated from the Court’s ECF system will be sent to both the primary e-mail and additional
e-mail addresses. You are limited to 3 additional e-mail addresses.

SIGNATURE OF COUNSEL: /s/ Robert D. Tilley

COUNSEL WHO FAIL TO FILE AN ENTRY OF APPEARANCE WILL NOT BE ENTITLED TO RECEIVE
NOTICES OR COPIES OF DOCUMENTS INCLUDING BRIEFS AND APPENDICES. ONLY
ATTORNEYS WHO ARE MEMBERS OF THIS COURT’S BAR OR WHO HAVE SUBMITTED A
PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney
Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 10/20/2020
